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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                      CASE NO. 09-CR-14044-GRAHAM/MAYNARD

  UNITED STATES OF AMERICA,

        Plaintiff

  v.

  TERRY BURNEY DELION, JR.,

       Defendant.
  ____________________________________/

                                            ORDER

        THIS CAUSE comes before the Court upon the Magistrate Judge’s

  Report   and    Recommendation     on   Violation      Number   4   of   the   Second

  Superseding Petition for Offender Under Supervision [D.E. 107].

        THE COURT has conducted an independent review of the record

  and is otherwise fully advised in the premises.

        THIS     MATTER    was   assigned   to   the     Honorable    United     States

  Magistrate Judge Shaniek M. Maynard [D.E. 46]. On September 16, 2020,

  a final revocation hearing was held [D.E. 105]. On September 18,

  2020, Magistrate Judge Maynard issued a Report and Recommendation

  recommending      that    Defendant     “be    found    to   have    violated    his

  supervised release with respect to Violation Number 4.”                        [D.E.

  107].

        Upon a finding “by a preponderance of the evidence that the

  defendant violated a condition of supervised release” Section

  3583(e) permits the Court to “revoke a term of supervised release,

  and requires the defendant to serve in prison all or part of the

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  term of supervised release” 18 U.S.C. § 3583(e)(3).          United States

  v. Cunningham, 607 F.3d 1264, 1266 (11th Cir. 2010).              After de

  novo review of the record, the Court agrees that the Defendant’s

  violation of supervised release has been proven by a preponderance

  of the evidence.

        Accordingly, it is hereby

        ORDERED   AND   AJUDGED   that   United   States   Magistrate   Judge

  Shaniek M. Maynard’s Report and Recommendation [D.E. 107] is hereby

  RATIFIED, AFFIRMED and APPROVED in its entirety.          It is further

        ORDERED AND AJUDGED that Defendant Delion is found to have

  violated his supervised release with respect to Violation 4.

        DONE AND ORDERED in Chambers at Miami, Florida, this 2nd day

  of October, 2020.

                                             s/ DONALD L. GRAHAM___________
                                             DONALD L. GRAHAM
                                             UNITED STATES DISTRICT JUDGE

  cc:   All Counsel of Record




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